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 9

10                                 IN THE UNITED STATES DISTRICT COURT
11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                            Case No.: CR 19–00654 VC
15                    Plaintiff,                           DEFENDANT'S SENTENCING
                                                           MEMORANDUM AND REQUEST FOR
16              v.                                         DOWNWARD VARIANCE
17    JONI ARTEAGA-CRUZ,                                   Court:          Telephonic
18                    Defendant.                           Hearing Date:   April 29, 2019
                                                           Hearing Time:   2:00 p.m.
19
           I.        INTRODUCTION
20
           Joni Arteaga-Cruz will be before the Court on April 29, 2020 for sentencing in this Tenderloin
21
     case. He was arrested in November 2019 and given a state court date—which he dutifully attended,
22
     only to be arrested by the federal government and then detained. Mr. Arteaga-Cruz has been
23
     incarcerated at Santa Rita Jail for over four months, since December 2019. Mr. Arteaga-Cruz grew
24
     up in a very poor family in Honduras and remains close to his parents. His Guidelines are 15-21
25
     months. Probation recommends 12 months and a day; disappointingly, the government is
26
     recommending a Guideline sentence as though the coronavirus pandemic is not a factor. Mr.
27
     Arteaga-Cruz respectfully asks that he be sentenced to time served and five years of supervised
28

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 1
     release. He asks for a sentence of time served given the small amount of drugs at issue, and the
 2
     health risks he faces during the pandemic at Santa Rita Jail. While he appreciates that entails
 3
     significant variance, time served in custody now is harder than it has ever been. He asks for five
 4
     years, rather than three, of supervised release as an alternative to a longer custodial term and also as a
 5
     promise that he intends to stay in Honduras.
 6
           II.     FACTUAL BACKGROUND
 7
           Mr. Arteaga-Cruz was born on May 29, 1976 in El Porvenir, department of Francisco Morazán,
 8
     Honduras, to Evenio Arteaga Cruz and Leila Tomasa Cruz Ochoa. PSR ¶ 36. He has three siblings,
 9
     two sisters, and one brother, all of whom live in Honduras. Id. Mr. Arteaga-Cruz’s family grew up
10
     very impoverished. Id. ¶ 37. According to Mr. Arteaga-Cruz, his father’s house was made of adobe
11
     and there was no electricity when he was growing up. Electricity was established with assistance
12
     from the government around the year 2000. Instead, the family used gas for cooking and a little light
13
     in the night. Mr. Arteaga-Cruz sometimes went hungry as a child. Id. Mr. Arteaga-Cruz’s family
14
     was particularly poor even compared to their neighbors. He reports that they were so poor that the
15
     temptation to steal food out of necessity was ever-present, but his father firmly taught his children
16
     that no matter how hungry they were they must always ask (or beg) for food.
17
           He completed sixth grade before he had to leave his studies to help support the family by
18
     working as a campesino at approximately age 12. Id. According to Mr. Arteaga-Cruz, he would
19
     have been forced to leave school even earlier, but the teacher spent additional time assisting him with
20
     his studies while he worked on the side. He would have liked to have stayed in school and wishes he
21
     could go back now. His family never owned land of their own; instead, they had to work on land
22
     belonging to richer landowners. Id. The family had no significant property of their own—no
23
     vehicles, no stock animals, or other valuable possessions. To this day, he reports that laborers in
24
     Honduras are only making a few dollars a day. As Mr. Arteaga-Cruz explained during his interview
25
     with Probation, the poverty in Honduras is oppressive and drove him, like so many others, to flee. Id.
26
           As noted in the PSR, Mr. Arteaga-Cruz’s mother has diabetes that costs the family hundreds of
27
     dollars per doctor visit, and his father is elderly and losing his vision. Id. As his parents’ oldest son,
28
     Mr. Arteaga-Cruz is their primary and only significant source of financial support. Mr. Arteaga-Cruz
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 1
     first came to the United States around 2000. He spent two years working in Dallas, Texas. First, he
 2
     worked at a company establishing air conditioning units. For a forty-hour work week, he earned
 3
     approximately $225. He also worked at a car wash, making roughly the same. Around 2002, a friend
 4
     who had lived in Tennessee urged him to move north because the wages were better. At a
 5
     construction job in Tennessee he was able to earn more than double what he was earning in Texas.
 6
     When he received his first pay check, he was shocked because he had never had so much money.
 7
     Finally, he was able to save some money to send to his family. Whenever he received his paycheck,
 8
     he sent roughly half of his earnings back to his family in Honduras before spending any. He also
 9
     maintained close contact with his family. He put money on a calling card for his parents back in
10
     Honduras so they could call him every day.
11
           In Tennessee, Mr. Arteaga-Cruz married Sandra Arteaga. They lived with another couple in a
12
     modest apartment to make money, which was challenging. Unfortunately, Mr. Arteaga-Cruz also
13
     developed serious alcoholism that interfered with his relationship and his life. He suffered several
14
     convictions related to drinking in 2002 and 2003. Id. ¶¶ 24-25. Thankfully, he did not lose his job,
15
     but his drinking continued to be a problem for him in his early twenties. In a serious lapse of
16
     judgment at age 27, he went to Denver to make money by conducting street-level drug sales. Id. ¶
17
     26. According to the PSR in his prior illegal reentry case, he was arrested for selling less than a gram
18
     of heroin to an undercover officer in Denver.1 He was deported but returned to Tennessee. After his
19
     Denver conviction, Mr. Arteaga-Cruz felt ashamed and vowed he would never engage in drug sales
20
     again. Unfortunately, a few years later at age 31, he was caught in an ATF investigation of a firearm
21
     purchase conducted by his brother and another woman. Id. ¶ 28. There was no evidence he had ever
22
     possessed the gun, but Mr. Arteaga-Cruz was charged with illegal reentry. Id. As a result of
23
     Guideline provisions that are no longer in force, he received five Criminal History points and a 12-
24
     level Offense Level increase for the drug prior, leaving him with Guidelines of 37-46 months. The
25
     Court sentenced him to 37 months. Id. His marriage failed and he was deported. According to Mr.
26
     Arteaga-Cruz (and consistent with the docket in his case), he remained in Hondruas during the
27

28   1
      See United States v. Jony Arteaga-Cruz, No. CR 07-20236, ECF No. 58 at 5 (W.D. Tenn. Apr. 17,
     2008).
     DEFENDANT'S SENTENCING MEMORANDUM AND REQUEST FOR DOWNWARD VARIANCE
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 1
     duration of his three years of supervised release and had no violations.
 2
           Mr. Arteaga-Cruz has one child from a prior marriage to Gregoria Sevilla, Jose, who now lives
 3
     in Philadelphia and works in construction. Id. ¶ 38. Jose lives with his sister Leticia, also from a
 4
     prior relationship. Id. Finally, Mr. Arteaga-Cruz also has a young son who lives in Honduras. Mr.
 5
     Arteaga-Cruz is close with his children and was living with Jose and Leticia in Philadelphia before he
 6
     moved to the Bay Area. In Philadelphia, he worked at Washington Brothers (similar to Home Depot)
 7
     driving a fork lift for approximately five years. Id. ¶ 44. In an effort to earn more money, he
 8
     followed a friend’s advice and moved to the Bay Area to work at a restaurant in Oakland, where a
 9
     friend was working in the kitchen. Approximately six months ago, he was attacked as he exited a
10
     BART station and broke his thumb. Id. ¶ 40. He received treatment, but experienced lasting pain,
11
     and lost his job as a result. Unable to pay his rent, he made the mistake that he vowed he would not
12
     repeat—he resorted to selling drugs on the street. He was arrested in November and has been in
13
     federal custody since December 2019. Mr. Arteaga-Cruz has not been able to reach his children or
14
     his family in Honduras since his arrest. When deported to Honduras, Mr. Arteaga-Cruz intends to
15
     stay there and work on a rustic and unfinished house that he owns.
16
           III.   SENTENCING GUIDELINES
17
           Mr. Arteaga stipulates to the Guidelines calculation set forth in the parties’ plea agreement,
18
     which is as follows:
19
           Base offense level, U.S.S.G. § 2D1.1(c)(13):                                         14
20
           Acceptance of responsibility, U.S.S.G. § 3E1.1:                                      -2
21
           Total Offense Level                                                                  12
22
           Mr. Arteaga-Cruz has two prior convictions totaling 5 points, and thus falls into Criminal
23
     History Category III. The Guidelines sentence for a Total Offense Level of 12 and Criminal History
24
     Category III is 15-21 months.
25
           IV.    LEGAL STANDARD
26
           The Court is familiar with the directives of United States v. Booker, 543 U.S. 220 (2005) and
27
     18 U.S.C. § 3553(a). The Sentencing Guidelines range is not mandatory and the Court has a duty to
28
     exercise judgment and discretion in arriving at an appropriate sentence. Importantly, the Court may
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 1
     not presume the Guidelines range is reasonable. Nelson v. United States, 555 U.S. 350, 352 (2009)
 2
     (per curiam). Instead, the Court must consider the Guidelines range, the nature and circumstances of
 3
     the offense, the history and characteristics of the defendant, and the need to avoid unwarranted
 4
     sentence disparities among similarly situated defendants. 18 U.S.C. § 3553(a)(1), (a)(4) and (a)(6).
 5
     In crafting a sentence that is “sufficient, but not greater than necessary,” to comply with the purposes
 6
     set forth in 18 U.S.C. § 3553(a), the Court must also consider the need for the sentence imposed: (A)
 7
     to reflect the seriousness of the offense, to promote respect for the law, and to provide just
 8
     punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect the
 9
     public from further crimes of the defendant; and (D) to provide the defendant with needed
10
     educational and vocational training, medical care, or other correctional treatment in the most effective
11
     manner. 18 U.S.C. § 3553(a)(2).
12
           V.      ARGUMENT
13
           Several matters warrant the Court’s consideration in connection with Mr. Arteaga-Cruz’s
14
     request for a sentence of time served followed by five years of supervised release:
15
           First, the defense appreciates that under ordinary circumstances, the Court might regard a
16
     downward variance from 15 months to time served as unwarranted. Mr. Arteaga-Cruz’s request,
17
     however, comes at a time of extraordinary circumstances. As of now, there are 1,260 coronavirus
18
     cases in Alameda County and 43 deaths.2 At Santa Rita Jail, according to the Sheriff, there are have
19
     been 17 confirmed coronavirus cases among inmates and staff.3 Twenty-four inmates are currently
20
     positive or experiencing coronavirus symptoms and awaiting test results; thirteen housing units (with
21
     an unknown number of individuals) are quarantined due to exposure to the virus. Id. These numbers
22
     likely understate the scope of infections because testing is so limited. Out of approximately 1,751
23
     inmates, 93 have been tested with nearly a third of those (33) testing positive and some (6) still
24
     pending. Id. Studies in the last several days indicate that the extent of infections may be vastly
25

26
27   2
       Coronavirus in California: Map and Case Count, The New York Times (April 23, 2020), at
     https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html (updated regularly).
28   3
       Alameda County Sheriff, COVID-19 Update (April 22, 2020) at
     https://www.alamedacountysheriff.org/admin_covid19.php.
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 1
     greater than previously thought due to inadequate testing.4 Conditions in the jail are, as the Court is
 2
     no doubt aware, much worse than usual. Inmates are in tight quarters, even more so with the closure
 3
     of North County Jail. Most units have dozens of inmates living together, with two inmates to a cell.
 4
     Access to personal hygiene items is limited, with only those inmates that have certain means able to
 5
     purchase commissary (better/more soap and other hygiene items). While the jail has provided each
 6
     inmate with a mask and one additional bar of soap, it is hardly enough to protect the population.
 7
     Additionally, the jail has now restricted all visits to the jail. No attorney, family, friends, or even
 8
     experts are allowed into the jail. Programming at the jail has been discontinued. Inmates are
 9
     extremely anxious, and many are trying to stay holed up in their cells to avoid contact. Mr. Arteaga-
10
     Cruz is himself very worried about himself and his family, with whom he has had no contact since his
11
     arrest. He reports that he has been a smoker for nearly twenty years, which is associated with
12
     immunodeficiency, a CDC risk-factor.5
13
           Counsel contacted a supervisor for the United States Marshal Service who confirmed that while
14
     the Bureau of Prisons (BOP) is transferring some inmates from Santa Rita Jail to BOP facilities at the
15
     moment, the transfers are limited and subject to a case-by-case determination. Thus, depending on
16
     the length of the sentence Mr. Arteaga-Cruz receives, he will likely have to spend all of it at Santa
17
     Rita Jail. Under ordinary conditions, the jail has less space, worse facilities, fewer programming
18
     options, and less access to medical care than BOP facilities. Unlike other inmates at BOP, as an
19
     undocumented immigrant who may be subject to a final removal order, Mr. Arteaga-Cruz likely
20
     cannot use earned time credits under the First Step Act for time in a halfway house, on home
21
     confinement, or on supervised release, and thus will likely serve a longer sentence than other
22
     similarly-situated inmates.6 Even if Mr. Arteaga-Cruz is transferred to BOP, conditions in federal
23

24   4
       Hidden Outbreak Spread Through U.S. Cities Far Earlier Than Americans Knew, Estimates Say,
     The New York Times (April 23, 2020), at https://www.nytimes.com/2020/04/23/us/coronavirus-
25   early-outbreaks-cities.html; see also Far More People May Have Been Infected by Coronavirus in
     One California County, Study Estimates, CNN (April 20, 2020), at
26   https://www.cnn.com/2020/04/17/health/santa-clara-coronavirus-infections-study/index.html.
     5
       Center for Disease Control, Coronavirus Disease 2019 (COVID-19), People Who Are at Higher
27   Risk for Severe Illness (April 23, 2020), at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
     precautions/people-at-higher-risk.html.
28   6
       BOP, First Step Act – Frequently Asked Questions (April 23, 2020), at
     https://www.bop.gov/inmates/fsa/faq.jsp#fsa_time_credits.
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 1
     prison are also grim. Social visits have been suspended.7 As of April 22, 2020, there were 566
 2
     inmates and 342 BOP staff members infected, and 24 inmates have died.8 The Department of Justice
 3
     (DOJ) and DOJ Inspector General are conducting investigations into facilities where inmates have
 4
     died, including at Lompoc, California, where dozens of inmates and staff members tested positive.9
 5
     Defense counsel has spoken with former clients at BOP facilities who confirm that inmates are scared
 6
     and unable to distance or otherwise protect themselves.
 7
           After Mr. Arteaga-Cruz serves his sentence, he will almost certainly be transferred to an
 8
     Immigration and Customs Enforcement (ICE) facility at Yuba County Jail for weeks to months.
 9
     Several judges on this Court have already started granting temporary restraining orders to release ICE
10
     detainees at Yuba County Jail due to poor conditions and obvious health risks not only to the
11
     detainees, but also to the community. See, e.g., John Doe v. Barr, No. 20-CV-02141 LB, ECF No. 27
12
     at 10-11 (N.D. Cal. Apr. 12, 2020) (order describing conditions of confinement at Yuba and granting
13
     release); see also Bahena Ortuno, et al., v. Jennings, et al., No. 20-CV-02064 MMC, ECF No. 38
14
     (N.D. Cal. Apr. 8, 2020) (order granting release). These orders recognize that reducing incarceration
15
     at this extremely unusual time promotes public health and thus advances the public’s interest:
16
           Lastly, the Court finds, under the highly unusual circumstances presented, i.e., a global
17         pandemic of a type not seen within recent memory, the public interest is served by the
           requested injunction. Specifically, the public interest in promoting public health is served by
18         efforts to contain the further spread of COVID-19, particularly in detention centers, which
           typically are staffed by numerous individuals who reside in nearby communities.
19
     Bahena Ortuo, ECF No. 38 at 8. As the Court is no doubt aware, similar efforts are underway at
20
     Santa Rita Jail, at BOP, and nationally.10
21
           In sum, this is an exceptionally difficult to time to serve a sentence. Time served now is much
22
     harder than time served under normal circumstances and conditions are not likely to change anytime
23

24
     7
       BOP, BOP Implementing Modified Operations (April 23, 2020), at
25   https://www.bop.gov/coronavirus/covid19_status.jsp.
     8
       BOP, COVID-19 Cases (April 23, 2020), at https://www.bop.gov/coronavirus/.
26   9
       DOJ Team Reviewing Conditions at Virus-Plagued Federal Prisons; IG leading Separate Probe,
     USA Today (April 16, 2020), at https://www.usatoday.com/story/news/politics/2020/04/16/doj-
27   launches-review-prison-virus-deaths-infections-mount/5144320002/.
     10
        See, e.g., Alameda County approves early release for nearly 250 inmates at Santa Rita Jail, San
28   Francisco Chronicle (March 19, 2020), at https://www.sfchronicle.com/crime/article/Alameda-
     County-approves-early-release-for-nearly-15144181.php.
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 1
     soon. Thus, a multi-month sentence imposed now should be considered a much harsher sanction than
 2
     it would normally be.11 Even if the Court grants Mr. Arteaga-Cruz’s request for a time served
 3
     sentence, he is likely to spend more time in custody. In view of all this, Mr. Arteaga-Cruz
 4
     respectfully asks the Court to consider a significant downward variance. Given the circumstances,
 5
     additional custodial time is not necessary to mete out sufficient punishment, consistent with the
 6
     mandate of § 3553(a).
 7
           Second, as an alternative to incarceration he respectfully suggests a longer period of supervised
 8
     release. Following his Tennessee case, Mr. Arteaga-Cruz complied with the conditions of supervised
 9
     release: he did not return to the United States and did not commit any crimes. He is committed to
10
     complying with the terms of his supervision in this case as well. He knows that he would face
11
     additional charges as well as a supervised release violation if he returns. Mr. Arteaga-Cruz
12
     appreciates that his history of recidivism will concern the Court and submits that a longer period of
13
     supervised release is a better guarantor or lawfulness than a longer sentence. Mr. Arteaga-Cruz’s
14
     record bears this out.
15
           Third, and closely relatedly, deterrence does not justify a longer sentence. As counsel has
16
     argued to the Court in other similar cases, the available data does not support the conclusion that
17
     longer sentences promote general deterrence.12 Given the particular the circumstances of this case,
18
     the concept of specific deterrence also does not make sense. Prior sentences of six months and 37
19
     months13 have not in fact deterred Mr. Arteaga-Cruz from returning (although supervised release did
20
     deter him for a period). Here, the reality is that economic incentives overwhelm the deterrent effect
21
     (if any) of a longer custodial sentence. Mr. Arteaga-Cruz and his family face extreme poverty in
22

23
     11
        The government’s suggestion that the pandemic should not serve as a windfall for defendants like
24   Mr. Arteaga-Cruz is troublingly oblivious to the actual conditions in custody at this difficult time.
     12
        See, e.g., Kelli D. Tomlinson, An Examination of Deterrence Theory: Where Do We Stand?
25   FEDERAL PROBATION 80 (3), 33-38 (Dec. 2016) (“Severity of punishment was once thought to deliver
     the main deterrent effect; the more severe the consequence for law-breaking, the less likely an
26   individual is to commit a crime. However, this assumption has not been supported in the literature.”).
     13
        The defense submits that thirty-seven months was a very severe sentence for Mr. Arteaga-Cruz’s
27   illegal reentry case, although it was the low-end Guidelines sentence. As noted above, it was driven
     largely by a Mr. Arteaga-Cruz’s drug conviction for selling under a gram of heroin, for which he
28   received a suspended four-year prison sentence (he was actually turned over to ICE almost
     immediately) after his probation was revoked. PSR ¶ 26.
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 1
     Honduras, of a kind that is not found in the United States. This hardship and his role as the primary
 2
     financial supporter of his parents drove him to this country to find work, and to commit the instant
 3
     crime. To be clear, the Court should not conclude that Mr. Arteaga-Cruz came here to finance his
 4
     family by committing crimes to earn money. Although he has certainly made mistakes and paid the
 5
     price for them repeatedly, Mr. Arteaga-Cruz should not be defined by his prior convictions. Mr.
 6
     Arteaga-Cruz has primarily been—for years—working socially-productive jobs, raising his children,
 7
     and sending his family in Honduras a large portion of his earnings. His past criminal history must be
 8
     seen in this in this light. Given all this context, the defense submits that the deterrent value of a
 9
     marginally longer sentence, weighed against the desperation felt by immigrants such as Mr. Arteaga-
10
     Cruz, is questionable. The ordeal of his current incarceration during a global pandemic and near-
11
     certain deportation thereafter, followed by five years of supervised release, is sufficient punishment.
12
           Third, and finally the details of this offense are not, themselves, while serious, are not as
13
     serious as many crimes that this Court sees. The offense consisted of street-level drug sales that did
14
     not involve violence, possession of large quantities of controlled substances, or other particularly
15
     aggravating factors. Mr. Arteaga-Cruz is not an organizer or leader, there is no evidence he had any
16
     personal stake in the drug sales, or any discretion.14 The government did not even bother to weigh
17
     the handful of drugs at issue here. Mr. Arteaga-Cruz made this mistake because he injured his hand
18
     and was out of work. (The government’s speculation that he could have been working legitimately
19
     and chose to sell drugs instead is incorrect.) Thus, while the defense appreciates that his history of
20
     recidivism is concerning, the crime itself does not represent a significant escalation in Mr. Arteaga-
21
     Cruz’s behavior. It is, at bottom, part of the same pattern: a crime committed out of poverty and
22
     desperation.
23
           //
24
           //
25
           //
26
27

28   14
        He would have been willing to safety-valve proffer but his 37-month prior sentence precluded his
     eligibility.
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 1
           VI.    CONCLUSION
 2
           Mr. Arteaga-Cruz respectfully asks for a time served sentence followed by five years of
 3
     supervised release.
 4

 5

 6
        Dated:      April 23, 2020                         Respectfully submitted,
 7
                                                           STEVEN G. KALAR
 8                                                         Federal Public Defender
                                                           Northern District of California
 9
                                                                     /S
10                                                         DAVID RIZK
                                                           Assistant Federal Public Defender
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